B 2l0OA (Form 2l0OA)   (lZlt)

                         UNITep STaTeS BAIIKRUPTCY CoURT
                                                      DISTRICT OF KANSAS



In   re ,A.qC                                                                                  Case      No. o 7-           21f7?


                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED fN THIS CASEordeemed filed under I I U.S.C. $ I I I l(a). Transferee
hcrcby givcs evidencc and notice pursuant to F.ule 3001(e[2), Fed. R. Bankr. P., of thc trans r, othcr
than for securiqv, of the claim rcftrcnced in this evidencc and notice.



          D             .?. lr'tseee                                     Northpointe Crossing Associates, LLC
          Namc of Transfcrce                                                     Name of Transferor

Name and Address where notices to transferec                              Court Claim # (if      known):-
                                                                                                     36
should be sent:                                                           Amount of Claim:            $5,859.04 plus attorneys' fees
       /2ot /.t, tFy 4a.4q                                                Darc Claim Filed: 04/13/2009
  (Ttrr6txttl 6el /n'er*Jv       4
Phone: <?8?) 64'er4,,                                                     Phone:
last Four Digits o?Acct *                                                 fr"t fo
Name and Address rvhere transferee payments
should be sent (ifdifferent from above):



Phone:
last Four Digits of Acct        #:




I declare under penalty of perjury that the information prcvided in this notice is true and conect to the
best   of my                 and     belief

By                                                                                                       2o1r
                                         s Agent



Pemltyfor n&irry, a lalse statcmolt' Fim of rp ro S500,flF or imFismnurt for rp to 5 ycan, or both.   18 U.S.C, S$ 152   & 3571.




                       Case 08-22879               Doc# 242           Filed 09/28/21            Page 1 of 1                        trtftill
iiEFGI                                                                                       SETETFI
